Christian A. Torimino, WSBA #52927
Trial Attorney
U.S. Department of Justice
Office of the United States Trustee
1220 SW 3rd Ave, Room 315
Portland, OR 97204
Telephone Number: (202) 306-4948
Email: christian.torimino@usdoj.gov

Attorney for Gregory M. Garvin,
Acting United States Trustee for Region 18


                      UNITED STATES BANKRUPTCY COURT
                        FOR THE DISTRICT OF OREGON

 In re                                            Case No. 20-32792-pcm11

 John Southwick, and                              UNITED STATES TRUSTEE’S
                                                  OBJECTION TO DEBTORS’
 Rebecca Southwick,                               APPLICATION TO EMPLOY
                                                  ATTORNEY
                  Debtors-in-possession.



                        UNITED STATES TRUSTEE’S OBJECTION

         Gregory M. Garvin, Acting United States Trustee for Region 18 (the “U.S. Trustee”), by

and through his undersigned counsel, objects to Debtors’ Application to Employ Ted Troutman

of the Troutman Law Firm (“Troutman”) as DIP counsel (ECF No. 5) (the "Application"). The

U.S. Trustee requests denial of Troutman’s employment application because Troutman is not a

“disinterested person” under 11 U.S.C. § 327(a) and § 101(14) due to Troutman’s representation

of a creditor, International Collision Repair, LLC, and due to a potential claim that the Debtors

may have against the Troutman Law Firm.

                                           HISTORY

         Rebecca and John Southwick (the “Debtors” or “Southwicks”) operate an automotive

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collision repair business in Portland, Oregon. Prior to August 20, 2020, that business was

operated through a separate legal entity: International Collision Repair, LLC (“ICR LLC” or the

“LLC”). The LLC had its own assets, debts, contracts, Employer Identification Number,

insurance, and bank accounts. 1 The business allegedly found itself in serious financial trouble

shortly after the beginning of the COVID-19 related shutdowns. On March 31, 2020, Olsen

Daines was retained in connection with a potential bankruptcy filing, though it is unclear

whether the Southwicks or the LLC retained the firm. While the Statement of Financial Affairs

indicates that Olsen Daines was paid by the Southwicks, it appears that Olsen Daines was

preparing a filing for the LLC rather than for the Southwicks personally.

        In May 2020, Craig Petersen, the CFO of International Collision Repair, LLC, contacted

Troutman. There is a lack of clarity as to whether Troutman represented the LLC or the

Southwicks. No engagement letter was provided to Debtors, to the LLC, or to Mr. Petersen

outlining the scope of Troutman’s representation or identifying the party to be represented. The

only agreement for representation between Troutman and Debtors is the agreement dated

October 1, 2020 attached to the Application.

        In late August, Troutman prepared articles of dissolution for ICR LLC. Troutman also

drafted an Assignment and Assumption Agreement (the “Assignment Agreement,” See Torimino

Dec. Ex. C) by which the LLC transferred certain assets to the Southwicks individually. On

August 20, the Assignment Agreement was signed by John and Rebecca Southwick individually

and as members of the LLC. On September 1, the Articles of Dissolution for the LLC were filed

with the Oregon Secretary of State.



1
 The schedules and related documents filed by Debtors in this bankruptcy case include information relevant to the
LLC as well as the Debtors. It remains unclear which information relates to the individual debtors and to the LLC.

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       The Southwicks filed this chapter 11, subchapter V bankruptcy on October 1, 2020. The

U.S. Trustee objected to Debtors’ first day cash collateral motion on the grounds that funds in the

LLC’s bank accounts were not property of the estate and, therefore, not cash collateral within the

meaning of 11 U.S.C. § 363(a)-(c). (ECF Doc. 13) Following the filing of that objection, on

October 5, Debtors and International Collision Repair, LLC entered into a “Ratification of

Assignment of Bank Accounts,” clarifying that the Assignment Agreement was intended to

transfer the LLC’s bank accounts. See Torimino Dec. Ex. C. At the hearing on the cash collateral

motion, it became clear from testimony that the business still operated almost entirely in the

name of the LLC.

       On October 7, Troutman sent Debtors a letter outlining “the personal conflict of interest

that has now arisen” and requesting Debtors’ consent to continue as their counsel (the “Conflict

Letter”). See Torimino Dec. Ex. A. On October 19, the Oregon State Bar Professional Liability

Fund (“PLF”) sent a letter to the Debtors regarding the circumstances surrounding the

Assignment Agreement and the concerns raised by the U.S. Trustee, the subchapter V trustee,

and the Court (the “Repair Letter”). See Torimino Dec. Ex. B. Without admitting liability or

fault, the PLF agreed in the Repair Letter to pay $11,717 toward legal and filing fees for the LLC

to file its own separate case. Id. The stated purpose of the LLC’s filing would be to “reduce or

eliminate possible damages related to the pre-bankruptcy assignment and assumption as well as

related conduct.” Id.

       On October 29, Troutman filed an amended Rule 2014 Verified Statement for Proposed

Professional. (ECF Doc. 41). That statement confirms that Troutman “sent several demand

letters for the LLC.”

       The LLC filed its own bankruptcy case on December 2, 2020 with the case number 20-

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33271-pcm11. In the Rule 2014 Statement attached to Michael O’Brien’s employment

application in that case, Mr. O’Brien indicates that he “received a retainer in the amount of

$10,000 plus $1,717 to cover the filing fee from the Professional Liability Fund for the benefit of

the Debtor [International Collision Repair, LLC].”

                      MEMORANDUM IN SUPPORT OF OBJECTION

       Generally, professionals cannot recover fees for services performed for a debtor in

bankruptcy unless those services have been authorized by the court under 11 U.S.C. § 327(a).

With court approval, a debtor may employ counsel under 11 U.S.C. § 327(a) if they 1) “do not

hold or represent an interest adverse to the estate” and 2) “are disinterested persons.” In re Tevis,

347 B.R. 679, 687 (B.A.P. 9th Cir. 2006). The term “adverse interest” means “(1) to possess or

assert any economic interest that would tend to lessen the value of the bankrupt estate or that

would create either an actual or potential dispute in which the estate is a rival claimant; or (2) to

possess a predisposition under circumstances that render such a bias against the estate.” In re

Tevis, 347 B.R. at 688. A “disinterested person” is defined by the code as a person that:

               (A) is not a creditor, an equity security holder, or an insider;
               (B) is not and was not, within 2 years before the date of the filing of the
               petition, a director, officer, or employee of the debtor; and
               (C) does not have an interest materially adverse to the interest of the estate
               or of any class of creditors or equity security holders, by reason of any
               direct or indirect relationship to, connection with, or interest in, the debtor,
               or for any other reason.

11 U.S.C. § 101(14)(A)-(C).

       A person applying for employment under § 327(a) bears the burden of demonstrating that

they and their firm do not hold an adverse interest and that they are disinterested. In re Capitol

Metals Co., Inc., 228 B.R. 724, 727 (9th Cir. B.A.P. 1998). “Failure to be a disinterested person

under section 101(14) is not a matter that could be waived.” In re S.S. Retail Stores Corp., 211

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B.R. 699, 703 (B.A.P. 9th Cir. 1997). A potential malpractice claim against counsel has been

held to be a disqualifying interest for special counsel employed under a narrower provision, 11

U.S.C. § 327(e), where the issue for which counsel was to be employed could have had a direct

financial impact on the firm. In re Melridge, Inc., 108 B.R. 748, 751 (D. Or. 1989). Furthermore,

professionals seeking employment have an affirmative and continuing obligation under F.R.B.P.

2014 to disclose all connections to the debtor in order to aid the court in determining whether

any conflicts of interest exist. In re Raj Kamal Corp., 2013 WL 6671493, at *5 (B.A.P. 9th Cir.

Dec. 17, 2013).

        Troutman both holds an adverse interest to the estate and is not a disinterested person as

required by 11 U.S.C. § 327(a). First, Troutman acknowledged in the Amended 2014 Statement

that he represented the LLC in connection with “several demand letters.” (ECF Doc. 41).

Additionally, the Southwicks might reasonably have believed that Troutman represented the

LLC because a) Troutman provided no engagement agreement clarifying which party he

represented and b) he regularly interacted with the LLC’s chief financial officer, Craig Petersen,

regarding his representation of the Debtors. The prior representation of the LLC is significant

because, as a result of the Assignment Agreement, the LLC may hold claims against the

Southwicks’ bankruptcy estate. The dissolution and transfer of the LLC’s assets to the

Southwicks without payment of the LLC’s creditors did not comply with Oregon’s laws

regarding winding up of an LLC, as argued in the U.S. Trustee’s objection to Debtors’ cash

collateral motion. (ECF Doc. 13). Alternatively, the LLC or its creditors may have a claim

against Debtors under the Uniform Fraudulent Transfers Act, O.R.S. §§ 95.200 to 95.310, or

similar provisions of the Bankruptcy Code (e.g., 11 U.S.C. § 548(a)(1)). Troutman previously

represented a party that is likely a creditor in this bankruptcy, creating a conflict of interest that is

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disqualifying for purposes of employment under 11 U.S.C. § 327(a).

         Second, both the Conflict Letter (Torimino Dec. Exhibit A) and the Repair Letter

(Torimino Dec. Exhibit B) acknowledge that Mr. Troutman has a conflict of interest due to the

circumstances surrounding the dissolution of the LLC. By advising Debtors to enter into the

Assignment Agreement to reduce legal fees, Troutman created numerous issues for Debtors

under both state law and federal bankruptcy law and likely prejudiced creditor rights. While

Debtors apparently executed guarantees as to many of the LLC’s obligations, at least some of the

LLC’s debts were the LLC’s separate obligations prior to the Assignment Agreement. Similarly,

the LLC is not liable on certain debts of the Southwicks. The status and potential forgivability of

the PPP loan owed to Kabbage, Inc. may have been affected. One creditor has filed an adversary

proceeding claiming that the transfer of substantially all the LLC’s assets to the Debtors without

prior written consent violated its agreement with the LLC and Debtors. Adv. No. 20-03119-pcm,

ECF Doc. 1 ¶ 32.

         The willingness of the PLF, a malpractice insurer, to fund the filing of the LLC’s

bankruptcy case should be interpreted to mean that Troutman may have potential malpractice

liability with respect to his pre-petition representation of the Debtors and/or the LLC. 2 That

potential malpractice liability is an “adverse interest” because it “create[s] either an actual or

potential dispute in which the estate is a rival claimant,” and potentially could lead Troutman “to

possess a predisposition under circumstances that render such a bias against the estate.” In re

Tevis, 347 B.R. at 688. The potential malpractice liability may create circumstances where



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  While it was suggested at the hearing on the Debtors’ Motion for Use of Cash Collateral that the LLC could file its
own bankruptcy case and that the Assignment Agreement could be unwound, allowing the two estates to be
administered separately, there has so far been no agreement between the Southwicks and the LLC to unwind the
transfers.

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Troutman must choose whether to advise his client to take actions detrimental to his own

personal financial interests. As recognized by the comments to the Model Rules of Professional

Conduct, “[i]f the probity of a lawyer's own conduct in a transaction is in serious question, it may

be difficult or impossible for the lawyer to give a client detached advice.” Model Rules of Prof'l

Conduct R. 1.7 cmt. 10. This conflict of interest is not waivable for purposes of 11 U.S.C.

§ 327(a). In re S.S. Retail Stores Corp., 211 B.R. at 703.

       Lastly, by failing to amend the Rule 2014 verified statement to disclose as a “connection”

the involvement of the PLF, including payment by the PLF of $11,717 for the filing of the LLC’s

bankruptcy, Troutman violated his ongoing duty to disclose connections under FRBP 2014. In re

Raj Kamal Corp., 2013 WL 6671493, at *5 (B.A.P. 9th Cir. Dec. 17, 2013). Rule 2014 requires

that professionals applying for employment disclose “[a]ll facts that may be pertinent to a court's

determination of whether an attorney is disinterested or holds an adverse interest to the estate….”

In re Park-Helena Corp., 63 F.3d 877, 882 (9th Cir. 1995)(emphasis in original). Professionals

“cannot pick and choose which connections are irrelevant or trivial.” Id. Following a request

from the U.S. Trustee that Troutman file an amended Rule 2014 Verified Statement, Troutman

filed the amended statement on October 29 (ECF No 41) but did not disclose any facts relating to

the potential malpractice liability, the October 9 Conflict Letter, or the October 19 Repair Letter.

       While denial of the Application will leave Debtors unrepresented, the Court should not

take into consideration Debtors’ ability to retain new counsel in making its determination under

11 U.S.C. § 327(a). The Bankruptcy Code does not provide for employment of non-disinterested

persons, even if the alternative is a lack of legal representation.

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                                        CONCLUSION

       The U.S. Trustee objects to the employment on the grounds that Troutman has not met

his burden of demonstrating that he is disinterested within the meaning of 11 U.S.C. § 327(a).

       DATED this 11th day of December 2020.

                                             Respectfully submitted,

                                             GREGORY M. GARVIN
                                             Acting United States Trustee for Region 18

                                             /s/ Christian A. Torimino
                                             CHRISTIAN A. TORIMINO
                                             WSBA #52927, Trial Attorney




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                              CERTIFICATE OF SERVICE

       I hereby certify that on December 11, 2020 I served a copy of the foregoing UNITED

STATES TRUSTEE’S OBJECTION TO DEBTORS’ APPLICATION TO EMPLOY

ATTORNEY on all parties included on the Court’s CM/ECF electronic service list.




                                          GREGORY M. GARVIN
                                          Acting United States Trustee for Region 18


                                          /s/ Christian A. Torimino
                                          CHRISTIAN A. TORIMINO
                                          WSBA #52927, Trial Attorney




                                  CERTIFICATE OF SERVICE


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Christian A. Torimino, WSBA #52927
Trial Attorney
U.S. Department of Justice
Office of the United States Trustee
1220 SW 3rd Ave, Room 315
Portland, OR 97204
Telephone Number: (202) 306-4948
Email: christian.torimino@usdoj.gov

Attorney for Gregory M. Garvin,
Acting United States Trustee for Region 18


                       UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF OREGON

 In re                                              Case No. 20-32792-pcm11

 John Southwick, and                                DECLARATION OF CHRISTIAN
                                                    TORIMINO IN SUPPORT OF
 Rebecca Southwick,                                 UNITED STATES TRUSTEE’S
                                                    OBJECTION TO DEBTORS’
                  Debtors-in-possession.            APPLICATION TO EMPLOY
                                                    ATTORNEY




I, Christian A. Torimino, declare as follows:

   1. I am more than 18 years of age and am competent to testify to the matters set forth below.

   2. I am a Trial Attorney in the Office of the United States Trustee (“U.S. Trustee”), United

         States Department of Justice, Region 18, Portland, Oregon.

   3.    On December 2nd, 2020, I emailed Ted Troutman requesting a copy of a conflicts letter

         that Troutman provided to the Debtors in the above-captioned case. He responded by

         providing the letter attached hereto as Exhibit A. While that letter attached to exhibit A is

         unsigned, I also received a signed copy with much lower image quality the following day.

         I attach the unsigned copy of the letter for legibility purposes, but I can provide the




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   signed version upon request.

4. In the same email chain, I requested that Mr. Troutman provide a copy of the “repair

   proposal” letter provided to the Debtors by the Professional Liability Fund. Attached as

   Exhibit B is the responsive email I received from Mr. Troutman on December 3, 2020,

   including the repair letter signed by John and Rebecca Southwick personally and John

   Southwick on behalf of International Collision Repair, LLC.

5. The lower right corner of each page of Exhibit A and B contain a Bates Stamp number

   affixed by our office, but the exhibits are otherwise true and correct copies of the

   responses provided by Mr. Troutman.

6. Attached hereto as Exhibit C is a copy of the August 20 “Assignment and Assumption

   Agreement” entered into by the Southwicks and International Collision Repair, LLC, as

   well as the October 5 “Ratification of Assignment of Bank Accounts” entered into by the

   same parties. Both of these documents were obtained from the docket, ECF No. 20,

   where they were filed as exhibits to Mr. Troutman’s declaration in support of the

   Debtors’ motion to use cash collateral. The exhibit stamps in the bottom right and the

   ECF stamp are therefore not related filing of this declaration.

   DATED this 11th day of December 2020.


                                                         /s/ Christian A. Torimino
                                                         CHRISTIAN A. TORIMINO




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             Exhibit A




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             Exhibit B




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